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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
THE TRUSTEES OF THE NEW YORK
STA TE NURSES ASSOCIATION PENSION
PLAN,
                      Petitioner,                                     21   CIVIL 8330 (LAK)

                 -against-                                                 JUDGMENT

WHITE OAK GLOBAL ADVISORS LLC,
                    Respondent.
----------------------------------------------------------X



          It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum and Opinion dated March 17, 2022, White Oak's motion is

granted to the very limited extent that the award is modified as described about solely with respect

to White Oaks' retention of the IMA management fee and denied in all other respects. The Plan's

petition to confirm the arbitration award, consisting of the PF A and the FA and as modified by the

preceding paragraph, is granted in all respects. The Plan's requests for post-award prejudgment

interest and for a declaratory judgment are denied, the latter as moot; accordingly, the case is

closed.

Dated: New York, New York
       March 17, 2022

                                                                RUBY J. KRAJICK

                                                                 Clerk of Court
                                                       BY:

                                                                 Deputy Cler'
